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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KLAUBER BROTHERS, INC.,

                      Plaintiff,
                                                20 Civ. 3114 (LAP)
-against-

ASOS US, Inc. et al.,

                      Defendants.


LORETTA A. PRESKA, Senior United States District Judge:

    On October 19, 2021, the parties submitted a joint request

that this matter be referred to Magistrate Judge Cave for

mediation.     On October 27, the Court issued an order generally

referring this case for mediation though the District’s

Mediation Program.

    In light of the parties’ specific request that Magistrate

Judge Cave be assigned, and counsel’s representation that

Magistrate Judge Cave is available on the requested dates, the

Court hereby refers this matter to Magistrate Judge Cave for

mediation.

SO ORDERED.

Dated:       New York, New York
             October 27, 2021
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                                          LORETTA A. PRESKA
                                          Senior United States District Judge




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